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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                            CASE NO.: 4:06cr48-SPM

JASON SHOATES,

           Defendant.
___________________________/

         ORDER TO INCLUDE RECOMMENDATIONS IN JUDGMENT

      Defendant Jason Shoates was sentenced on Monday, October 15, 2007.

He asks that his judgment include a recommendation to the Bureau of Prisons

that he be designated as close as possible to the Tallahassee area and that he

be admitted to the drug treatment program. Doc. 232. The Government does

not oppose.

      The Court finds sufficient grounds in the record to make these

recommendations to the Bureau of Prisons. Accordingly, the clerk shall include

these recommendations in the written judgment. Defendant is advised that the

recommendations are not binding on the Bureau or Prisons.

      SO ORDERED this 17th day of October, 2007.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
